

Matter of Branic Intl. Realty Corp. v Department of Hous., Preserv. &amp; Dev. of the City of N.Y. (2021 NY Slip Op 01715)





Matter of Branic Intl. Realty Corp. v Department of Hous., Preserv. &amp; Dev. of the City of N.Y.


2021 NY Slip Op 01715


Decided on March 23, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 23, 2021

Before: Webber, J.P., Oing, Kennedy, Scarpulla, JJ. 


Index No. 155541/19 Appeal No. 13408 Case No. 2020-03261 

[*1]In the Matter of Branic International Realty Corp., Lienee-Appellant,
vDepartment of Housing, Preservation and Development of the City of New York, Lienor-Respondent.


Rose &amp; Rose, New York (David P. Haberman of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York&nbsp;(Nwamaka Ejebe of counsel), for respondent.



Order, Supreme Court, New York County (Melissa A. Crane, J.), entered June 15, 2020, which denied petitioner's motion for an order discharging the notice of lien filed by respondent, granted respondent's cross motion to dismiss the petition, and dismissed the petition, unanimously affirmed, with costs.
The petition was properly dismissed. The record shows that the notice of lien was served "by . . . certified mail addressed to [petitioner's] last known place of business," and that respondent properly filed proof of service with the County Clerk within 35 days (Lien Law § 11[d][iii]; see Matter of Informart New York LLC v Hugh O'Kane Elec. Co., 2003 NY Slip Op 30231[U] [Sup Ct, NY County 2003]).	
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 23, 2021








